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CE_SE 4:lE“EV-Ul]163-Y wl'lC!l;L]l'¥'EE]']t 25 Fl-lEd nE-l'n§.l|r]_§ FElgl of ]_[]E Page||] lyng

Exhibit l: Declaratinn of Dzm`d Bmiles

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Caee dilo~ev-Dt]lEH-V income-ot 25 Filed oBlt]EllE l-"agt_ of 106 F*agol|] 1?09

I]ECLARATIDN DF ]]'A\"ID BRU]LFS

l. lvly twice is l')avid ]-lroiles. l arn competent to make this declaration Tlre statements
made herein are true leased on mv personal knowledge or._, where l male opinioos, tliej.r are based
on e:qierienee and training tear qualifies roe to assert the opinion

2. This declaration ia made in support of the Plaintit`[`s' Rcaponse in Dppositioo to tl'tt:
Del`entlaat’s Moriort to Sever the Clairns of SHCI`W, lrre. end its supporting Memorandurn_ Doe.
ttoe. lB-li?. l am aa attt:»rne;tr representing the Plairrt.iFt`a. 'l`he§.r have been my clients in related
dioptlt¢$ Wit.h the USDA Sinco Septemloer 201 l_ l oeth 85 oot:<nael lo SHUW I'NC., E'i` dtl_. vi
USlJA, dfl`l`l{]l*¢ NCI. dill-evmit£‘l-Y in this Cottrt, and in Co;ra‘cnder Famre LL.,F. v. U_S. Dept.
of.d_g?'iettimre_ Tl'§l F.?td 253 {2015} {“L`oi'tfe."tder f’ herea.fler}_

3. ] am licensed to practice law irt Te>ras, and haw for 43 years been involved in trials and
appea]$, ott trolrrj,'r occasions in federal courts_ i am familiar with federal eotrrt practice iroth at the
district court level and in federal appellate ootrrts. Mv eltpmieoce inclodes practice in t_ln`a tjoth
in the Fort Wortlt l_`livisior: ot` the Nortirem Diatrict ol` 'l'e:\taa, including trying cases before die
presiding lodge to tire court and to ajory_ l have represented parties in cases ira this tjoan
decided on motions for summary judgement

41 I am familiar Wid:t the factora other courts have considered relevant ira deciding motions
to sever under Rnles ill add 21. Tl`tese factors include whether the defendant will be unduly
prejudiced tip evidence altered at trial orr dissimilar claims involving unrelated partiee. enother
factor is 1ittietlier joinder ot` elairna or parties rna:rr ootdilse or prejudice tire j,r.rrj,'1 or cause tlre
admission of evidence li'om one pert},r irrelevant and prejudicial to other parties that cannot be

cured by art instruction dot overriding factor is wltetlrer severance timbers e-.':»ot;iom],r in the use oi`

 

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Cast: 4zld-cv-UDlES-Y courtrth 25 Filnd 051'05!1£3 F"agt_ ot 156 l`-*age-|D 1?3.|]

judicial tenancies and the parties’ time and money Rule Ztl[[h]l anttmrises the court “to protect a
part}r against embarrassment delay, expense or other prejudiee."`

5_ `l`he USDA filed its station to sever before this case is two months old. lt has not filed an
ansvver_1 no lnitia.t Schodnl`rng Grder has issued, there has been no R.tlle 26 conference and initial
disclosures have not heen made '['hcrc is no evidence l`rom which this Court can decide
severance is appropriate “to protect a party against embarrassment delav, expense or other
prejudices Facr conn

d. it motion to sever cannot he decided based on the pleadings alone Defcrtdant’s attempt
to treat its motion as hatch rests solely on an inaccurate and misleading reading of the P]aintift`s’
Atrrended Complaint. Doc. ne. ll. tier example, in its memorandum the USDi'-t comettds that
“SI-lt_`tW asserts a claim against the USDA under the APA challenging the agenev`s requests for
records i`rorn SH(}W tsee___,id. 1199], and asserts a claire under thc i*rivaej' F'tct challenging tlm
accuracy of information on the USIJA"‘s wehsite regarding the starns of a prior administratrith
proceeding against SHOW.. M. '1|’11 5£]-53.“ iloc_ l?, p. S.

'l'_ ‘l`l:tis does not accurately describe Sl-l[lW’s claims in the drucnded Complaint. SI~IUW is
not mentioned in the Pnch net elcim, which is made solely on hchull` ot` the Mct'iartlands in
paragraphs eti-il . Thc l:*rivac§tl net protects ocl‘_v hidivi-daals’ privacy SHUW’s complaint shoot
the USDA trolawthll§,r identifying it as having violated the l[PA, in exceeded t‘.cinplaint doc_
nn. tl, page ltl, paragraphs ill-51 falls under this hcading: “C. linder Bnth ndrninistrativc
Enl`orocment Programs the USI}A Puh]ishl¢ the Namec ofl’cople Fonutl in Violatiutr. Ttteir
lltlieged Violttttol:ts llttl the Form ‘?tlti»t] Wat"ltimg liethers." SH{}W`s and the McGertiaItds’
claims arise item the same unaudtorized and unlawful actions ot` the USDA -- publishing their

names on turn danihase lists that falselyr identify them as having violated the HPA.

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Case d:lo-cv~uulo`H-Y ocuroent25 Filed oEFDElltE Pagt of 106 PagelD 1?11

tl_ 'l`he central issue in any motion lo sever tests on evidence that pennils the court “tn
protect a petty against embarrasan delay1 expense or other prejudice." FRCP illt'b}_ 'l`h\=_~
USDA lies presented no evidence on these innes; indeed its motion does not claim it needs
protwl:ion against embarrassmean delay, expense or other prejudice line Motion to cher cannot
he decided absent a relevant evidentiary record I am mindful of criticism that l burden the Comt
with volmmncus filings so i have tried to make a bare-times proof of relevant lacts, and have
tried to keep documentary evidence to a minimum

91 The evidence proves how the P|ainti_ti`s` claims arise out nt` common occurrences or
transactions, and overlap nn issues of` fact and lavr, as reflected in the Plaintill`s' “A:nendcd
Eomplaint I`or Declnmtotj' and lnjunclive Rclicl`”, doc. ill l, which thc lllfou.ct should judicially
notice, and when referring to that dncu:ne.ot, I will cite it using “:‘lxuended Ctnnplaint, doc- al l 1,
p.“, llM_." E-xbibil E, attaehcd, is a ¢::t:lpg..r of the Flainlift's’ proposed “Sccond Amended
C.oto_plajnl.“ A motion for leave to file il is pending, l)oc. no. 22. This exhibit sets forth the
claims Plainlifl°s are presently makingd This domunent urill be referred to by “E.:rhibit 2_. p._,
q._..__” EIlIilJils 3 through 3 prove that Sl-IDW`s claims arise out of the same occurrences about
which the hchanlam:ls complain, and that all thc t*lairtl'ifl`s’ contentions involve one overarching
issue of law_

]t]. T‘his case will pro~`nablj\r be decided on suitunar_v judgment motions though it is too
earl_r,¢r in the case to know it`ttlete will be fact disputes precluding summary judgment i_ftl]ere
arc. and this case has to be triedl the trial 1I.l..-ill be before lite coml, not ajur_v. Tlius, joinder of the
parties and their claims itt one case will not confines or pcejudice the jury or cause the admission

ol`evidenoe ii'om one partyl irrelevant to other plastics that cannot he cured by an instruction

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Cnse 4116-cv~[tl1163»‘r ocument 25 F-'ilerl 05105!15 Pagt of ltlo PagelD 1?3_2

t]. 'l`he IJSDA has offered no evidence a severance will timber ecomirny in thc use of
judicial resources and the parties“ time and money_ to the Conraisdar !, bad the Conrt severed
the MeGartland claims from SHDW“s elainrts_1 the cost and expense to the Plaintiti’s would have
been considerably hi alter than theyr acre
ll 'l'he parties in (,'ontenrier i and this case arc the santa 'l`he legal issue is the same -
whether the l~lPA authorizes the USDA to penalize people for violations ol` the net other than in
mcmann sears as seventy san mass aaa hanna is c\s.c. §isss{s}. tea sam aetna
take judicial notice of its decision in Corn'emfer l about the time eiq)ende¢] by PlaintiE`s’
attorneys1 the fees and expenses of the l-‘laintiit`s., and the cost to the government as set forth in
its l'rltech il, EIll 6_. Atnecdcd Urder Pattially Granting dilution for Attorocys’ .Fees and Expenses,
in SHUFH Inc. v. tainted Sto:cs Deptcrrrmem of.#l\gricz.rirm'e, t`,'ase No. dzll-cv-d]tlll~?il~‘f, doc.
#132. lied Sl-lt'}W's claims been resolved in a case separate t`rona hlctiertland and tinntentler
_`Farrns, the time die attorneys spent prosecuting the case for the l'laintii`fs amici have greatly
increased because ul` duplication ofc‘Ffort.
l'_l. ln Ccntender i, had SHOW bcco in a sopazate case from McGarLland and Ccntender
Fanns, the L`cart would have bad to maintain two case tiles_. necessitating review of many
duplicative tilings and eirlii|:¢itsr1 This would not have been efficient ar cost ett`ective. lt would
have been a \'~*astc of the Coni't“s time_

14. 'l`rying die MeGartland and SH{}W claims in one case will not cease any embarrassment
to the USDA that could be avoided by severing Sl-lGW’s claims into a separate lawsuit Nor will
trying all claims in one case delay the reselinion ofthe dispute in a way that having too lawsuits
will avoid '|"rying thc claims in ot\c lawsuit will not increase the expenses oi'thc parties or waste

the Conrt`s time

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Case 4:1E-cv-t`lilltid-Y ocumeot 25 F`rled UEltJElld F'ogt at 105 F*agel[l i.i'ld

-i.\

ii The gravamen to the P|ainliifs’ complaint in this lawsuit is that HPA §lli£§{h} prohibits
the USDA from penalizing people for violating the Aet other than in a Formal Enfnreetnent
Pt‘oceedittg that meets the due process requirements of the ['I`F'il'tL §lRES{bJ and (d}, APA §§55],
554._ 556 and 553, and i' C_F.R.§l.l§t[l et seq. SI'IUW and the hdc(iat'tlands jointly contend that
contrary to diese provisions the USIlI-A uses three alternative enforcement schemes wider which
it takes enforcement actions tc decide whether a person or entity has violated the diet for which
tith should he penalized The unauthorized and unlawful penalty the UED_i'-l. im]mses that is
common to all three enforcement sehiancs is publishing the violator’s nance on USDA wehsite
databascs, falsely and misleadingly identjlj,ring them as HFA violators and specifying tl:ae
violation See Eshihit. 2 attaehcd: pp. ti-”i, ila o~'.i; p_ 211 '§s ll 19; pp. EE-EE, l]s 39-43; pp, 23-
as, ss invite p. sc, se ss-s:i; pt sess 'r. an a at, tie sa-al end pp. aa_is, irs tas.i is aid
i’-'tn:tended i:ltitn]:=lajnt_1 doc. no. l]t pp_ 2-2'9,1s 'l-l ti, l$, 23, 32, JEFEI, ti=l, TS'-ll§i, 315-31 433-921
91 lll'|l, ltlZ-ltld,and llldvltlo.

]6. 'I`l'a: USDA publishes the St:at'chable Violations List and the F.nt`orotunent Act_ions List,
both ol` winch identify people and entities tl:ae Agency has taken imi`orcemtntt actions against
where it has decided those identified violated the I-l]:'i*iL and identifying their violations See
l`:ixitibit lanaehcd: pp. 216-23 ._, 115 39-43; p. EL'|j 15 52-53; p 41, "_Ts 39»915 p];t, 43-49, §§ llli~llil
and Amended Cotnplaint, doc. no. ll: pp. 'i'-Sl, 'l]s 23~25; p. 9, 1321 pp. 11-15, "ls 32~53; pp. 2?»
Igl 115 ll`.il'i.`l_q l[IE-l'l'[i, and IUS-IUE. h"I-I{llilt' and the iiiol'.`iartlaa'tds claim that though they have
been listed as violators, they have not been determined to have violated the l-IPA wider
procedure Cortgress established in I-[PA §ISI${h]. SHUW and the MeGart[ands are listed in hoth

datehases as violators of the l-]]"A. See attached E)dtibita 31 4 and d

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Cnse 4:16-t;v-U0153-Y 'net.trnent£§ Filed IJEHJEFIE Pagt_ tit 106 F'sgetD 1.?14

t?_ This dispute abtmt the USDA*$ publications begun on lone tl, 2015, when Mil-:e
Me{}drl]end saw that die US|`&A lied published s list identiii;ing him ss having 1irioltn‘et| the l-IPA_
An attorney far the US[]A was contacted to enmpl.aiu ti:tut the “APIHS-An_imn] Czlre |-`tm‘se
Proteetiou ‘i"ielatinns [Sesrnhshle]“' tret`ert'od to here ss the “Seereiisble Violstions List”)
identified the MeGurtIands as I-H*F't vioislms. bias E.shjbit 3 amh¢d_, pp. iii-59 Ttte list
identitied Lee nmi Mike Mc{.`lartlanti us “viu`ltutus” nfthe ,H.ct ti_u' using s foreign substance when
entering "‘Low nn Gin” and for s sear ride violation when entering “He’s 511de le Blsek“ in
needs still tamm 3, pp. 51 erie ss-ss.
lE_ Dn June 21, 2915, lprirtted the compiete '?9 page Seseehsble ‘i"in|stinns t.isl. Exhibit di
pp. 451»55. consists ut` excerpts li'mn the Searchsl:tle ‘-.Fiolstious List Psge 1, the cover plang
ttsflt.'.cts this titles "'USDA-AFHIS-Anjmsl CBJ‘»'.! Hnrs.e Prutut:titm Euiiurt:>cmt"nt At.‘l'_iuns El.`ll]i}-
2{}13," end notes “Ti:tis is sit srohive site." Extu`bit 4, ]_;:~. nt. "t`he cover page identifies what each
oolumn represents 'Ihe first column is for the ""i-`“iolstnr nexne” followed tn die right by n column
fur tile “Hnrse N=ime.” then a cull.m.'in for the “VinLntitm date” with a Emti column listing the
“violetion.”

{}n page 60 nt`i'§'+, Milte Me("jsrt]and is owned under “‘Jiotatocr,“ “He`s 811de in Blnek“

is the horse, “Ef§i'tt']?` is under “`i.-'inlejion Dnte” and “Forei,e,n Su}istsnec:” is the

“"J.inlatinn." Et\d:tibit 41 p. 51

Un page 61 ut` i"§l, Mitte Me{;im't|s;nii, Les Mr.Gartiand end Ciu‘is Aiexsnde'.t, this haines

sue listed as “Viul.esntst” “lsi:w on Gin" is me horse, the “"ti'inlasiun l'}ste“ is 3!23.\'2[¥12,

and the “`lvriolstion” is “Fere'ign Euhstsnee“ E.idtihit 41 p. 63.

Gtt page 63 of TS}, SHCIW is identified under “`l.»'iotstor Nstne," no horse is nsu:ed, time

swenson estes is srtotz end stt4tts, end me “vio:onon" is “Lt,ttii___tij,)_?

MFFI.CM-" E?'=hibif 4, P- 64-

On page 'I"t§ of ?9, Mikc M¢‘,Gard,e:itl, Lee Me'l'.`:ertland and the trainor Chris Alsxandi:r

arc lisl‘.t>d as “Vi¢]dtms" fi;tr the hurst "Ht:` Shsdy i.‘l.'t Hlat:k" for et “SI:BI Rul\s” situation
nn K¢"`Sl]t' 12, Eit`i'titiit 4, p_ t”:-S.

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Case 4:1¥5-cv-tttl1li3-Y neument 25 Fi|ec| DE)’GE!J.E F'ags ‘ot 196 F’agellj] 1?15

l‘)_ Clicl:iag the symbol i_u the left hand column under “Vicw" opens tire USDA’s supporting
documenr. `l`|rere wm no document for the cl?§»i‘li foreign substance for "l_.nw on Gin" where
`-.'vl_ike Mct]ar‘tlsnd nas listed as the violator. Exhibit 5 contains the documents that were available
on the website l`or the MeGarilands' and Coritender’s horses when this list was printed nn .lune
211 Etlli `l“i:te document is the APl-IIS Furtu ”l[ltil). anrl ali of them arc substantially sdilte. See
Eahibit 5 attached, pages ti?-i'.’i.

EU. 'l`he hrst Forrn ?lltil] identities Milec hlc{}artlartd in the bolt ""iilt}l.:'t'l`(}lit” in “CASE
N(_}. 'INIJUE'FJ-AF.." E:\thibit 5, p. 61 line tlrit:ttmertt, dated ll]'i"lS.-ll$, is a "Ui"`FICl'_A_L
WARNI_NG VlGl,is`[l{lN {]E` F'F.l"llil{ial. REGLlla"i`l`lUl~lE“ and reflects “lJate ol` 1iiiolation.'
August 23? I'Ell:l_“ F.Jthil'.~it .‘i3 p. 61 Tl:tc “Urtlawl"u] Acls" arc for “l§ U.S.C. § 1324{?}" and "‘§'
{J.i-`.ll. § ll.?.{c} Prohibition concerning exhibitors - Substanccs." hahibit 5, p. oil The horse is
"' "Low on iiin‘ which tested positive for Suli‘ur.” lv'tr. McGertland is earned that L“violati-:ms of
the regulations can have serious arul costly hnpact detrimental to the public hitcrcst_ larry farmer
violation cl these regulations may result in tl',tc assesiscnt of a civil penle or criminal
prosecutions assert s, o orr ins osser ram reese for “ae‘s sherry to slses,“ tee
hchartlattd and Chns r"'._lexanricr are similar to the one l have summarized Exhibit 5, pp, oil-ii

2l. Thc wound list published h'§.r the U’Sl)tlt is thc Enforcement Actions List. Eshil)it ti, pages
??»93, contains a selection of pages princed from that list on spril 23, 2316. "l'he Eirhibit includes
the horne pagc, and the “USDA Al*l-IIS § |-lorse l-"rotec'ti.ou Act Enf`c»r'ccmen,t“ pages, which
provide a link to “IIPA E.nthrccrncnt Acl'ions_" in thc Plaintill`s' complaints this list is referred to
as the “'E`.rlf`ercement Actiens I.ist.“ Cticking the link opens the list, which is titled “USDPL
APHIS | Enforcc:ncnt tictions.” Tltc selected pages reflect en‘oics t`or lil-lt)W and the

Mcll`ia.rt]artds_

'll.`.l

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L`.ase dzlo-t:v-UGIE‘»E-V _ moment 25 Fiteo UE»ttl=EtlE Page ot 105 PagelD 1?16

22. Opening Januar;v 2014, under Conrplaints, identi lies a USDA enforcement action against
snow io one oomeor lessees-no. santos o, p. ss. cnokiog soo soo procure complain
Ho. l-l-l')t]§t'i dated Januarv 9, 2014, alleging violations ot' the regulations by not adopting the
mandatory minimum strsrteetsion ncrialtits. Eidtibit ti, pp. Sti-E?_ SHUW complains in the
.amcndcd llomplar`nt, paragraphs 50~55 and in the Seeond nmended Cotoplalnt, paragraphs 39-
91 cf the LISDA identifying it as a violator because SHCIW cannot violate the Act andT in inch
won the casse, which was dismissed with prejudice irr f"tp'ril 201 5.

23. `lllc same Eut'orccment notions Llst that identities the USl)A`s enforcement action
against SH(}W also identifies i_.ee and `Mik;c McGartland as violators Eidalhit fi, p. 33. Upcnjng
Fcl:irue.t‘}r Eilld, then l~ii~"tli. then Ttltit]s, identifies both Mike and Lee Mcl."rartland in cases
numbered iNi§{liZ?-AC and TNI§[liEli-AC. idxitibit ti1 pts 312-31 Clicitittg l.oc ]'vic'l_iartland's
name produces a Furrn 'Fllti[l issued 2fle 16 itt case `l`hll SUtlE--AC, with ber named as the
vroLsTc-tt Too coors or violation aogo.o 2a now or“ts L:-.s.c_ § ransojtai ootownit
acts- Sliowing” the horse “ Ll-lhe’s ll Sbadv Sister’... where the horse nies found in violation ol`
the sear rule during a post-show inspection_” lite “thicisl Warning” was rsoifided “t`or the
violation{s] described abovc." E:-t]ribit ti, p. 9[|'.

24. Cliclring on lviilo: McGardand`s name pmduo£ a liorrn ?dtill in cases numbered
“TN]$UiiT-AC dc lWi§UlZS-AC” naming l'ld.ilte Mc{iar‘tland as the ""iv"`lGl.ATt'}[l." Eai:l.ibit 6,
pp. 91-92. rl`bcrc are nvo violan`ons listed Tbe iirst case reflects thc “|}ute of Violation: August
26, 2014 tiNl$dlEB~r‘-ttll“ fur “l5 U.S.C. § 1324{2]{Dj Unlawliil nets Showing....`dlre"'s ll
Sbadv Sister’. .. where the house was found sore in violation oft]:te near role during a post-snow
inspecticn-” E:\da'bil li, p. 91. d second enter-cement action states ties “Date of 1i"iolai;it.*rn: [was]

A'ug’u$'£ 21 2514 lelS[llI'i'-AC] [f`or} “l&Zd{E]tl}] llnlawful acts -- AHowing” lite horse

ll

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___ __,.. _.. - . ._....

Case 4:16-ev-tlt1163-'*f __ moment 25 Filetl tlE:lDEl’lt': F’age_ of 105 Pagett] l?l?

“'Blue`s Master" to he simon “whe:rc the horse was found sore and in violation o;[` the scar role
during apco-show inspection.” Exl'lihit ti, pp. 91-92_

as again oo leo april 23, setsr1 liot, nelson o, pp_ ss-ss, oooolog tool-oh sonsr1 non lisa
and finally Ti"l]t§'|l's, identifies lee Me-Gaztland in case no. TN!$!]]ST_ C|icking on Lec
MeGartland“s name produces a Form ?{ldd, issued 33'3!16, in ease 'INlSdlEl-AC, with her
named as tile VIULAT{]R. Tht: "`l_`)atc of Vittlat.ic!tt lilly 264 EUH" for “15 U.S.'C_ § lBZ»f-l-{E][A]
Unlavvf`ul acts - Showing“ the horse “ ‘Thc liu_val [h:ller"... where the horse was found in
violation of the sear rule during a post-show inspection."' E;\rhihit o, p. 93_ Tl:le “t'ltlicial
Warning" atlas provided to lee h{e{iaxtj.and “t`or the violation{s] described above.” inhibit ti, p_
91

2d Tilc Fol.'n'l ?i][t{l dated l'v'£a.t'ch E, 2911 T.o Lee Mefiartla.nd, Exllihit o, p. 93, was posted on
the tlt"d]f't's database on dprii i9, 2016, aa announced in a USDA pleas release dated nprii l~l,
Etllf.l. Ettl'dhit T,, pp_ 95-93_ Fl`lse release announces “Roccrlt Anintal Welfare Act and l-lorst:
Fro‘l.cction Act - Enforccment Actions.” `Exllihit i", p. 95. lt app]auds l-"¢.PH]S’ manning efforts
"to lnove swiftly oral to take enforcement actions in response to animal welfare violatious.“
Eshihit 'l, p. 95. lt says “APHIE is highlighting enforcement actions taken in response to
violations ofthe ...l-lorse Pr'otectiou Ac:l. ..” and provides a hinlr. to the l`:`.ni`oreement notions l.ist?
Whieh, when opened._ produces the documents in Hahilsit li. Exiiibit l', p. 95.

21 A]] t]'le Flaittiiff€, l"¢'liltc and [,oe Mt:{]a.t‘tland, Contcndcr Fat'ms a:nd SHDW, eo.n'lpla.i.n of
being identilied on the Euforecmcnt notions List. 'l`|:re],r joil:l.tl].r claim to he advenzely affected by
tile USDA`s action in pnhlishl`ng this database identifying them or their horses as having violated

the HFA_ 'l`l'le Mc['rartltmds complain that the penalties the USDA assessed against them were

12

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CELBE 4.'15-§‘.|'-|]€|'153-`¢’ _`lt.`:t_ttl'lt:.*ltl 25 FilEd UEJ'UEJ"].E P'BQE\_ of 105 PE_QE|D l'l'lB

unautl'lot'izoi and tdoia,tod the exclusive penalty provision Cougrcss promdod in l-an §lHZfi{b)_
st-tt`l`W complains it has been listed as violating the net when in l`aet it could not and did not.

23. The MoGn.rtlands and HHGW jointly complain of the llSlJl*L’s section io publishing a
third set cf lists that are based on H.IUs records of rulehoolr penalties assessed against people
chose horses failed the l-it{ls’ DQP inspections dee nmended t.Te-l'upl'.alnt1 doc. l 11 pp, 21-2?, 'is
112-99 and Ea. 2. pp. 3943, its 54-11?. t}n its oe:bsite the USI]A publishes these tists: {1}
“aoopoooioto carlos toll tlorooo l-'oooo to vtoloaoo; | 2014 | sets : | cola | | colt g § not o," ray
“h"tlspcnsions: Currently Activc: lillitt» | l 2013 l |2012 l | Etlll l §§Dltl“ and {.'l} “Fines; | 2014 | |
ldt3l12012§|2t}ll l|I!Jld.” Aruended Conrplaint, doc. nn ll, .p. 22 ,1Etl. Plaintiffs rei`et‘to
these as the “i-ll[l P'e:naltp l_.ista"1

29. T`l\e “UED'A Hurse P'rotceta'on Pt'ogran'l Fiue churt" 1I`ol' 2010-2014 includes the name of
the “Fined l-‘erson,” tile line amount the l-llt] ticket date and numbcr, the horse’s name and the
l-IIO`s name. Gn the lone 21, 2{|15, reciting1 oftl:lc 115 listed people, 99 were fined by SHGW_
amended Con:lplaint, doe. no. ll._. p. fit "Iilil_

itt Ttte USDA publishes die “l.it.ll.}A Horse Frotcction Progtant lactive Suspension Report.""
A lone ill, idi 5, copy identifies '-`,*il individuals wider the heading “Suspended Pctson." 31 iCIW
assessed ill ofthose suspensions Amel:u:led Cotuplaint, doe. ll1 p. 23, 1 31

31. 'lhe US|JA`s lists of “E.caponaiblc Pat'ties for l'[oracs Foo.nd in 1'v'ioialtiol‘l; § litt¢t '; | 2013 |
| ceta | i coil i_ | _teltl|,a oootoao o moonvo annual of infooaaaoo tenor too aoootog mtisonL
HURSE PROTECTI£]N PRUGRAM Rcsponsililc Parties for l'lorses Found in Violation." Eacll
report lists the pcrson’s name cutler “Rcaponsiblc Part_v." The “*v'io|adou" is specified 'I`lle horse
is idcrlti'Eod, along Witl'l the dale ul`the show and the Hl{l that assessed the penalty The lone El,

EE}lS, reports total about 369 pal-peat with about l?__,`lli!-`l entries naming the “Responsihlc Part_\,r,“’

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Case 4:16-eu-Ctt]163-Y icumeotEE Fi|erl 05.-‘05.1'15 F'age of lois F'agelilt 1?155

nlentifying a "violntion” and naming a horse Arnended Contpiaint, doe. ll._, p. 23, 1132 'l'he first
live pages ofthe 2014 is=:.j:tort1 printed on inne 23, 2015, are included in F.xhibit 3 attachedl pages
99-1{}3_

32. ln 2612, the llSlhi. adopted regulations requiring private HlCts to assess minimum
suspension penalties against people whose horses did not pass DQP inspecticm_ Thc lilst store
required to deny a pcrsrm Who was under an [-ll[l`s suspension entry into events [fa horse failed
a DQP inspection and the person had a "‘ptior oll'ense?“ the penalry was indianeed. `l"he l'l_lfl‘
l’enalty Lists provided the lflCts the inftnnsition to comply with the regulations

33. `l`hese USDA’s regulations were declared invalid by the Ei_tth Circni'c and in r"t.pril
2d l ‘_i, this €onrt enjoined the USLJt-'t from enforcing them. Nonetheless, the llSlItA eontimies to
publish the H]U' Perralty Lists. The Mc(iartlands seek a declaration that publishing the HIG
senate rise rs mentioned ma commence the aaa aaa ann ny pertaining people air
publications that falsely and injsleading|y describe them as having violated the HP‘l‘tl because
their horses failed DQP hispections.

34_ Thc blc(iart]a.nds seek an injunction requiring that the USDA cease publication of the
Hl(_`.`r Penalt'y Lisl_s. SHUW seeks a declination that the USDA’s publication of the I-ll€t Penalty
lists is unauthorized and unlawful under the l-Il"e'tL and Al*a because the publication falsely
characterizes SHGW as having enforced the Aet against those identified on the ]ists.

35, Exhihr`rt 'i, pages ll]ll-tl$ is a 9!41'14, USDA letter to Stalteholders

'l'he statements in this declaration are trne. 'l'hia declaration i . `gned wider tltc penalties for
F*Bl'i jr Fol't Worth, 'l."e:\tas l'»'l,ay , 2016_
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Davi.d Lliroiles

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